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 April 17, 2019

 Chambers of the Hon. Robert D. Drain
 United States Bankruptcy Court
 300 Quarropas Street
 White Plains, NY 10601


 RE:    Frank Paterno and Beata Paterno
               Chapter 7
               Case Number: 18-23503-rdd
               SD&B File Number: 15-040168

 Dear Judge Drain:

 This loss mitigation status letter is submitted on behalf of Nationstar Mortgage LLC as Servicer
 for Wells Fargo Bank, National Association, Successor By Merger To Wells Fargo Bank
 Minnesota, National Association, As Trustee For Banc of America Mortgage Securities, Inc.
 Mortgage Pass-Through Certificates, Series 2003-L (“Nationstar”), a secured creditor of the
 above-referenced Debtors.

 Please be advised that Nationstar previously offered the Debtors a three month trial loan
 modification, with three monthly payments of $4,067.01 each due on the first of each month
 from February 1, 2019 to April 1, 2019. The Debtors accepted the trial loan modification and
 completed the first two trial payments.

 Currently, Nationstar is awaiting the third and final trial loan modification payment due on April
 1, 2019. Please note that this payment must be received by Nationstar on or before April 30,
 2019 for the trial loan modification to be successful.

 If you have any questions, please do not hesitate to contact the undersigned.

 Very truly yours,


 /s/ Katherine Heidbrink
 Katherine Heidbrink




                                                      ATTORNEYS AT LAW
                                                                   ________
            Katherine Heidbrink, Bankruptcy Attorney Direct (631) 844-9611 ext. 3028 kheidbrink@logs.com
                                                                   ________
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